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                                         UNITED STATES DISTRICT COURT
                                                        DISTRICT OF CONNECTICUT



                        STANDING PROTECTIVE ORDER

1.    It is hereby ordered by the Court that the following shall apply to information,
documents, excerpts from documents, and other materials produced in this action
pursuant to Federal and Local Rules of Civil Procedure governing disclosure and
discovery.

2.      Information, documents and other materials may be designated by the producing
party in the manner permitted (“the Designating Person”). All such information,
documents, excerpts from documents, and other materials will constitute “Designated
Material” under this Order. The designation shall be either (a) “CONFIDENTIAL” or (b)
CONFIDENTIAL-ATTORNEYS’ EYES ONLY.” This Order shall apply to Designated
Material produced by any party or third-party in this action.

3.      “CONFIDENTIAL” information means information, documents, or things that have
not been made public by the disclosing party and that the disclosing party reasonably
and in good faith believes contains or comprises (a) trade secrets, (b) proprietary
business information, or (c) information implicating an individual’s legitimate expectation
of privacy.

4.     “CONFIDENTIAL-ATTORNEY’S EYES ONLY” means CONFIDENTIAL
information that the disclosing party reasonably and in good faith believes is so highly
sensitive that its disclosure to a competitor could result in significant competitive or
commercial disadvantage to the designating party.

5.       Designated Material shall not be used or disclosed for any purpose other than the
litigation of this action and may be disclosed only as follows:

   a. Parties: Material designated “CONFIDENTIAL” may be disclosed to parties to this
      action or directors, officers and employees of parties to this action, who have a
      legitimate need to see the information in connection with their responsibilities for
      overseeing the litigation or assisting counsel in preparing the action for trial or
      settlement. Before Designated Material is disclosed for this purpose, each such
      person must agree to be bound by this Order by signing a document substantially
      in the form of Exhibit A.

   b. Witnesses or Prospective Witnesses: Designated Material, including material
      designated “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed to a
      witness or prospective witness in this action, but only for purposes of testimony or
      preparation of testimony in this case, whether at trial, hearing, or deposition, but it
      may not be retained by the witness or prospective witness. Before Designated
      Material is disclosed for this purpose, each such person must agree to be bound
      by this Order, by signing a document substantially in the form of Exhibit A.
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   c. Outside Experts: Designated Material, including material designated
      “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed to an
      outside expert for the purpose of obtaining the expert’s assistance in the
      litigation. Before Designated Material is disclosed for this purpose, each
      such person must agree to be bound by this Order, by signing a document
      substantially in the form of Exhibit A.

   d. Counsel: Designated Material, including material designated
      “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed to
      counsel of record and in-house counsel for parties to this action and their
      associates, paralegals, and regularly employed office staff.

   e. Other Persons: Designated Material may be provided as necessary to
      copying services, translators, and litigation support firms. Before
      Designated Material is disclosed to such third parties, each such person
      must agree to be bound by this Order by signing a document substantially
      in the form of Exhibit A.

6.    Prior to disclosing or displaying any Designated Material to any person,
counsel shall:

   a. Inform the person of the confidential nature of the Designated Material;
      and

   b. Inform the person that this Court has enjoined the use of the Designated
      Material by him/her for any purpose other than this litigation and has
      enjoined the disclosure of that information or documents to any other
      person.

7.     The confidential information may be displayed to and discussed with the
persons identified in Paragraphs 5(b) and (c) only on the condition that, prior to
any such display or discussion, each such person shall be asked to sign an
agreement to be bound by this Order in the form attached hereto as Exhibit A.
In the event such person refuses to sign an agreement in substantially the form
attached as Exhibit A, the party desiring to disclose the confidential information
may seek appropriate relief from the Court.

8.    A person having custody of Designated Material shall maintain it in a
manner that limits access to the Designated Material to persons permitted such
access under this Order.

9.    Counsel shall maintain a collection of all signed documents by which
persons have agreed to be bound by this Order.

10.  Documents shall be designated by stamping or otherwise marking the
documents with the words “CONFIDENTIAL” or “CONFIDENTIAL-FOR
ATTORNEYS’ EYES ONLY” thus clearly identifying the category of Designated
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Material for which protection is sought under the terms of this Order.
Designated Material not reduced to documentary form shall be designated by the
producing party in a reasonably equivalent way.

11.  The parties will use reasonable care to avoid designating as confidential
documents or information that does not need to be designated as such.

12.     A party may submit a request in writing to the party who produced
Designated Material that the designation be modified or withdrawn. If the
Designating Person does not agree to the redesignation within fifteen business
days, the objecting party may apply to the Court for relief. Upon any such
application, the burden shall be on the Designating Person to show why the
designation is proper. Before serving a written challenge, the objecting party
must attempt in good faith to meet and confer with the Designating Person in an
effort to resolve the matter. The Court may award sanctions if it finds that a
party’s position was taken without substantial justification.

13.     Deposition transcripts or portions thereof may be designated either (a)
when the testimony is recorded, or (b) by written notice to all counsel of record,
given within ten business days after the Designating Person’s receipt of the
transcript in which case all counsel receiving such notice shall be responsible for
marking the copies of the designated transcript or portion thereof in their
possession or control as directed by the Designating Person. Pending
expiration of the ten business days, the deposition transcript shall be treated as
designated. When testimony is designated at a deposition, the Designating
Person may exclude from the deposition all persons other than those to whom
the Designated Material may be disclosed under paragraph 5 of this Order. Any
party may mark Designated Material as a deposition exhibit, provided the
deposition witness is one to whom the exhibit may be disclosed under paragraph
5 of this Order and the exhibit and related transcript pages receive the same
confidentiality designation as the original Designated Material.

14.     Any Designated Material which becomes part of an official judicial
proceeding or which is filed with the Court is public. Such Designated Material
will be sealed by the Court only upon motion and in accordance with applicable
law, including Rule 5(e) of the Local Rules of this Court. This Protective Order
does not provide for the automatic sealing of such Designated Material. If it
becomes necessary to file Designated Material with the Court, a party must
comply with Local Civil Rule 5 by moving to file the Designated Material under
seal.

15.   Filing pleadings or other papers disclosing or containing Designated
Material does not waive the designated status of the material. The Court will
determine how Designated Material will be treated during trial and other
proceedings as it deems appropriate.



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16.    Upon final termination of this action, all Designated Material and copies
thereof shall be returned promptly (and in no event later than forty-five (45) days
after entry of final judgment), returned to the producing party, or certified as
destroyed to counsel of record for the party that produced the Designated
Material, or, in the case of deposition testimony regarding designated exhibits,
counsel of record for the Designating Person. Alternatively, the receiving party
shall provide to the Designating Person a certification that all such materials have
been destroyed.

17.    Inadvertent production of confidential material prior to its designation as
such in accordance with this Order shall not be deemed a waiver of a claim of
confidentiality. Any such error shall be corrected within a reasonable time.

18.     Nothing in this Order shall require disclosure of information protected by
the attorney-client privilege, or other privilege or immunity, and the inadvertent
production of such information shall not operate as a waiver. If a Designating
Party becomes aware that it has inadvertently produced information protected by
the attorney-client privilege, or other privilege or immunity, the Designating Party
will promptly notify each receiving party in writing of the inadvertent production.
When a party receives notice of such inadvertent production, it shall return all
copies of inadvertently produced material within three business days. Any notes
or summaries referring or relating to any such inadvertently produced material
subject to claim of privilege or immunity shall be destroyed forthwith. Nothing
herein shall prevent the receiving party from challenging the propriety of the
attorney-client privilege or work product immunity or other applicable privilege
designation by submitting a challenge to the Court. The Designating Party
bears the burden of establishing the privileged nature of any inadvertently
produced information or material. Each receiving party shall refrain from
distributing or otherwise using the inadvertently disclosed information or material
for any purpose until any issue of privilege is resolved by agreement of the
parties or by the Court. Notwithstanding the foregoing, a receiving party may
use the inadvertently produced information or materials to respond to a motion by
the Designating Party seeking return or destruction of such information or
materials. If a receiving party becomes aware that it is in receipt of information
or materials which it knows or reasonably should know is privileged, Counsel for
the receiving party shall immediately take steps to (i) stop reading such
information or materials, (ii) notify Counsel for the Designating Party of such
information or materials, (iii) collect all copies of such information or materials,
(iv) return such information or materials to the Designating Party, and (v)
otherwise comport themselves with the applicable provisions of the Rules of
Professional Conduct.

19.    The foregoing is entirely without prejudice to the right of any party to apply
to the Court for any further Protective Order relating to Designated Material; or to
object to the production of Designated Material; or to apply to the Court for an
order compelling production of Designated Material; or for modification of this
Order; or to seek any other relief from the Court.
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20.    The restrictions imposed by this Order may be modified or terminated only
by further order of the Court.

                                        IT IS SO ORDERED,


                                            /s/ Vanessa L. Bryant
                                        Vanessa L. Bryant
                                        United States District Judge




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                                     EXHIBIT A

       I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled __________________________
__________________________have been designated as confidential. I have been
informed that any such documents or information labeled “CONFIDENTIAL
PRODUCED PURSUANT TO PROTECTIVE ORDER” are confidential by Order of the
Court.

      I hereby agree that I will not disclose any information contained in such
documents to any other person. I further agree not to use any such information for any
purpose other than this litigation.




__________________________DATED:______________________


Signed in the presence of:


_________________________(Attorney)
